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           EXHIBIT A
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DonaldE. Hqyllend,
                Jr. Esq
From:                          DonaldE. Haviland,   Jr,Esq[Haviland@HavilandHughes.com]
Sent:                          TuesdaMy ,a r c h
                                               2 9 , 2 0 1 11 1 : 4 A
                                                                    1M
To:                            'ThomasSobol'
Cc:                            'SeanMatt'
Subject:                       RE:AWP


Whois in changeof Track 2?
I understandthe ludge wants us to speakon that as well

- - - - - o r i g i n a I | 4 e s s a g e - --- -
From: ThomasSobol I mailto : Tom@h                 bsslaw.comI
Sent: Tuesday,Manch29, 2011 11:38 AM
T o : D o n a 1 dE . H a v i l a n d , J n . E s q
Cc: SeanHatt
Subject: Re: At,lP

Seanis running the BMSsettlement. It is up to him as to who negotiates with you.

Best wishes for a good Spning rneeting.

F n o m :" D o n a l dE . H a v i l a n d , J r . E s q "
<Haviland@HavilandHuehes              . com<mailto:       Haviland(aHavilandHughes
                                                                              . com>
                                                                                   >
Date: Tue, 29 Mar 2Ot! LAi4liI4 -0404
To: TomSobol <tom@hb            sslaw.com<        mai 1to : tom@hbs
                                                                  sI aw.com>
                                                                           >
Subject: AWP

Whenwould you like to try to complywith the Count's ondenthat we look to ending AWPfon
all by June?
You committedto sending somethingin to the Count on BMSby next Fniday, which I think I am
supposedto see first.
[We've got someideas here about how a rea].Iocation might address the Court's concernsand
oun obj ectionsl

I'm in today and tomorrow, D,C. fon the ABASpring Meeting Thuns/Fri'

              i ps@oLcBEDFD.
lcld : imase001.         BF77CF40l
